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               EXHIBIT F
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THOMPSON                         ATLANTA                CLEVELAND                 DAYTON              WASHINGTON,   D.C.
- HIVE                                     CINCINNATI                  COLUMBUS            NEW YORK




November 14, 2017

 Via Email (henry.kurz(&,hkc-Eroup.de) and FedEx

Mr. Henry Kurz
Feuerbacher Weg 206
70469 Stuttgart
Germany

Re:       Cease and Desist Illegal Conduct

Dear Mr. Kurz:

We represent ConfigAir LLC ("ConfigAir"), and I am writing with respect to your recent
conduct that is in breach of ConfigAir's Operating Agreement, fiduciary duties you owe to
ConfigAir, and other obligations that you have under applicable law. For reasons set forth
below, ConfigAir demands that you immediately cease and desist (1) contacting ConfigAir's
employees and customers, (2) making false statements regarding ConfigAir's software, (3)
divulging ConfigAir's confidential information to third parties, and (4) making public statements
that are damaging to ConfigAir and its business.

Background

As you know, ConfigAir is a Connecticut limited liability company of which you are a member.
In early 2011, you, along with the other members of ConfigAir, signed the ConfigAir LLC
Operating Agreement (the "Operating Agreement"), which established ConfigAir as a "manager-
managed" limited liability company and that ConfigAir's board shall serve as the company's
manager. The Operating Agreement further identified you as an initial board member and as an
officer holding the titles "Chief Technology Officer" and "Vice President."

As part of the Operating Agreement, you and the other members agreed to a number of
provisions relating to intellectual property. In particular, pursuant to Section 3(a), you agreed
that:

                   All technology, ideas, concepts, inventions, improvements, programs,
                   designs, techniques and other works of authorship and development
                   (including but not limited to all copyright, trademark, patent, trade secret,
                   know-how and intellectual property rights associated therewith)
                   developed, devised, made, learned of, conceived or reduced to practice by
                   the member, either solely or in collaboration with others, whether before,



 Tony.Hombach@ThompsonHine.com Fax: 513.241.4771 Phone: 513.352.6721



THOMPSON HINE LLP                   312 Walnut Street                         wwvv.ThompsonHine.com
ATTORNEYS AT LAW                    14th Floor                                Phone 513.352.6700
                                    Cincinnati, Ohio 45202-4089               Fax 513.241.4771
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               on or after the date of this Agreement, up until and including the final date
               on which the member holds an interest in or is otherwise engaged by the
               Company, and which directly relates to the business of the Company (the
               "Work Product"), is, will become and will remain the Company's
               exclusive property. The Company does and will own all right, title and
               interest in and to the Work Product.

(emphasis added). In addition, section 3(b) states that:

               All Work Product is "works made for hire," and the Company is the
               "person for whom the work was prepared." As between the parties, the
               Company is and will be considered the author and/or owner, as
               appropriate, of the Work Product for purposes of patent, copyright or
               trademark law, and is and will be entitled to secure patent, copyright and
               trademark protection in the Company's name, if and as applicable, and the
               member agrees to cooperate with the Company as reasonably necessary to
               secure such patent, copyright and trademark protection. To the extent that
               the Work Product and any intellectual property rights therein or related
               thereto are deemed or treated as not "works made for hire," the member
               hereby expressly and irrevocably assigns to the company all of the
               member 's right, title and interest in and to the Work Product and any and
               all intellectual property rights therein or related thereto.

(emphasis added). All members in ConfigAir also agreed that they "will not disclose, use or
make known for the member's or another's benefit any Confidential Information or use any such
Confidential in any way;" "will not directly or indirectly . . . engage in, become financially
interested in, be employed by or have any business connection with [anyone] which competes
with the Company;" "will not solicit, directly or indirectly, any customers of the Company" or
"potential customers of the Company;" and "will not solicit or hire, directly or indirectly, . . . any
person employed or otherwise engaged by the Company except with specific written consent of
the Company." Operating Agreement §§3(d-g). ConfigAir's members also agreed that the
Operating Agreement "shall be governed by and construed in accordance with the internal laws
of the State of Connecticut and the federal laws of the United States applicable therein."

Aside from the obligations imposed by the Operating Agreement, you also owe ConfigAir
fiduciary duties under Connecticut law given your roles as a member, former officer, and founer
board member. These include the duty of loyalty, duty to act in good faith, and the duty to act in
the best interest of ConfigAir.
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Your Illegal Actions

Based on your recent conduct, you have breached the obligations that you owe pursuant to the
Operating Agreement and have breached fiduciary duties owed to the ConfigAir. It has recently
come to ConfigAir's attention that you have contacted ConfigAir's customers and told them,
among other things, that they are using "pirated software" and that ConfigAir's software belongs
to you, not ConfigAir. You have also threatened ConfigAir and its employees by stating the
employees' work on ConfigAir's software is illegal and subjects them to "criminal" punishment.
Of course, none of this is true since ConfigAir is the rightful legal owner of its software. While
it is true that you played a role with regard to creating the software, you agreed, per the terms of
Section 3(a) of the Operating Agreement, that any legal rights to any program that you worked
on "either solely or in collaboration with others, whether before, on or after the date" of the
Operating Agreement "is . . the Company's exclusive property." Moreover, to the extent that
the software was yours at one time, you further agreed in Section 3(b) of the Operating
Agreement to assign all "right, title, and interest" to that software to ConfigAir, and per the
United States Code, this language is sufficient to effectuate an assignment. 17 U.S.C.S. §204.
Therefore, contrary to what you claim, ConfigAir owns all legal rights to its software, and by
falsely claiming that you own ConfigAir's software and making other similar statements, you
violated fiduciary duties that you owed to ConfigAir as a director, officer, and member of the
company. And, although you were removed as an officer and director on October 21, 2017, such
statements still violate fiduciary duties you owe ConfigAir as a current member, foimer director,
and former officer and constitute violations of other applicable law such as the Lanham Act.

ConfigAir is also aware that you have infoinied its customers that ConfigAir cannot support
them and that they should hire you instead, disclosed confidential information regarding
ConfigAir and its operations to customers and third parties, and disparaged ConfigAir on social
media and in communications with third parties. Furtheimore, you have contacted and
threatened ConfigAir's employees in an attempt to cause them to leave the company. These and
any other similar communications that you have had violate the non-compete, non-solicitation,
and non-disclosure provisions of the Operating Agreement and are prima facie breaches of the
duties of loyalty and good faith that you owe to ConfigAir. As such, you are currently liable for
any and all damages that your conduct has caused ConfigAir as well as significant punitive
damages, ConfigAir's attorneys' fees, and any other costs that ConfigAir has incurred or will
incur in the future.

Accordingly, ConfigAir demands that you immediately cease and desist (1) contacting
ConfigAir's employees and existing and potential customers, (2) falsely claiming that you own
ConfigAir's software and making other similar false statements regarding ConfigAir's products,
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(3) divulging ConfigAir's confidential information to third parties, and (4) making public
statements that are damaging to ConfigAir and its business. A failure to comply with this
demand will make you liable for additional compensatory and punitive damages and will result
in ConfigAir taking immediate legal action.

Sincerely,




Anthony J. Hombach
